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     ROBERT ELKINS, MANJIT PUREWAL, and MANINDER “PAUL” LOBANA,
16   individually, and on behalf of others similarly situated
17
                         UNITED STATES DISTRICT COURT
18
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
                                 WESTERN DIVISION
20

21   SERGE HAITAYAN, JASPREET                 Case No.: 2:17-CV-7454
     DHILLON, ROBERT ELKINS, MANJIT
22   PUREWAL, and MANINDER “PAUL”             PLAINTIFFS’ COMPLAINT FOR
     LOBANA, individually, and on behalf of   DAMAGES, RESTITUTION, AND
23   others similarly situated,               OTHER RELIEF
24         Plaintiffs,                        Collective Action & Class Action
25   vs.                                      DEMAND FOR JURY TRIAL
26   7-ELEVEN, INC., a Texas corporation,
27         Defendant.
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                              AND OTHER RELIEF
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1                             I.     JURISDICTION AND VENUE
2          1. Pursuant to Federal Rules Civil Procedure, rule 8(a)(1), and U.S. District
3    Court for the Central District of California Local Rules (“L.R.”), rule 8-1, Plaintiffs
4    SERGE HAITAYAN, JASPREET DHILLON, ROBERT ELKINS, MANJIT
5    PUREWAL, and MANINDER “PAUL” LOBANA (collectively, “Named Plaintiffs”),
6    individually, and on behalf of others similarly situated, bring this action against 7-
7    ELEVEN, INC., a Texas corporation (“7-Eleven” or “Defendant”), invoking this
8    Court’s jurisdiction under:
9                 A. 28 U.S.C. section 1331, for alleged violations of the federal Fair
10         Labor Standards Act, 29 U.S.C. section 201, et seq. (“FLSA”) on an individual
11         and collective action basis.
12                B. 28 U.S.C. section 1367(a), for violations of the California state wage-
13         and-hour laws alleged herein on a class action basis which are so related to the
14         FLSA claim that they form the same case and controversy.
15                C. 28 U.S.C. section 1332(d), the federal Class Action Fairness Act, for
16         violations of the California state wage-and-hour laws alleged herein on a class
17         action basis because: there are at least 100 class members in the Named
18         Plaintiffs’ proposed class action class; the combined claims of all class
19         members in the Named Plaintiffs’ proposed class action class exceed $5
20         million; and each of the Named Plaintiffs, and at least one member of the
21         proposed class action class, is a citizen of a different state than Defendant.
22         2. Plaintiff SERGE HAITAYAN (“Haitayan”) is an individual, and is a citizen
23   of the State of California. At all times relevant hereto, Haitayan has resided in the City
24   of Clovis, County of Fresno, California. At all times relevant hereto, Haitayan has
25   operated one of Defendant’s “7-Eleven” retail convenience stores in his name as a
26   franchisee of Defendant in the City of Fresno, County of Fresno, California. Haitayan
27   has been a 7-Eleven franchisee for 27 years, and is also President of his local 7-Eleven
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1    franchisee association, the Sierra Franchise Owners Association in Fresno, California.
2          3. Plaintiff JASPREET DHILLON (“Dhillon”) is an individual, and is a citizen
3    of the State of California. At all times relevant hereto, Dhillon has resided in the City
4    of Chatsworth, County of Los Angeles, California. At all times relevant hereto,
5    Dhillon has operated one of Defendant’s “7-Eleven” retail convenience stores in his
6    name as a franchisee of Defendant in the City of Reseda, County of Los Angeles,
7    California. Dhillon is also Vice-President - Business Affairs, of his local 7-Eleven
8    franchisee association, Franchisee Owners Association of Greater Los Angeles.
9          4. Plaintiff ROBERT ELKINS (“Elkins”) is an individual, and is a citizen of the
10   State of California. At all times relevant hereto, Elkins has resided in the City of El
11   Cajon, County of San Diego, California. At all times relevant hereto, Elkins has
12   operated two of Defendant’s “7-Eleven” retail convenience stores in his name as a
13   franchisee of Defendant, one in the City of El Cajon, County of San Diego, California,
14   and one in the City of Lakeside, County of San Diego, California. Elkins is also
15   President of his local 7-Eleven franchisee association, the San Diego Franchisee
16   Owners Association.
17         5. Plaintiff MANJIT PUREWAL (“Purewal”) is an individual, and is a citizen
18   of the State of California. At all times relevant hereto, Purewal has resided in the City
19   of Vacaville, County of Solano, California. At all times relevant hereto, Purewal has
20   operated one of Defendant’s “7-Eleven” retail convenience stores in his name as a
21   franchisee of Defendant in the City of Vacaville, County of Solano, California.
22   Purewal is also President of his local 7-Eleven franchisee association, the Greater Bay
23   Franchisee Owners Association.
24         6. Plaintiff MANINDER “PAUL” LOBANA (“Lobana”) is an individual, and
25   is a citizen of the State of California. At all times relevant hereto, Lobana has resided
26   in the City of Moorpark, County of Ventura, California. At times relevant hereto,
27   Lobana has operated two of Defendant’s “7-Eleven” retail convenience stores in his
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1    name as a franchisee of Defendant, one in the City of Simi Valley, County of Ventura,
2    California, and one in the City of Oxnard, County of Ventura, California. In addition,
3    Lobana is a shareholder in a California corporation which, at times relevant hereto,
4    has operated one of Defendant’s “7-Eleven” retail convenience stores in the name of
5    the corporation as a franchisee of Defendant in the City of Alhambra, County of Los
6    Angeles, California. Lobana is also President of his local 7-Eleven franchisee
7    association, the Franchisee Owners Association of Southern California.
8          7. The Named Plaintiffs allege that the relief sought by this action, to them and
9    to the similarly situated individuals on whose behalf they also bring this Complaint
10   (collectively, “Plaintiffs”), is as a result of work personally performed and expenses
11   personally incurred by them in the State of California within the four years before the
12   filing of this Complaint, and continuing to trial.
13         8. Defendant is a citizen of the State of Texas, with its corporate headquarters,
14   nerve center and principle executive office located at 3200 Hackberry Rd., Irving,
15   Texas 75063. Defendant also maintains a principle business office in California at
16   1430 Truxton Ave., 5th Floor, Bakersfield, CA 93301.
17         9. Defendant is in the business of operating “7-Eleven” retail convenience
18   stores which it owns across the United States, and in California. Defendant also
19   operates identical “7-Eleven” retail convenience stores through a network of franchise
20   stores across the United States, and in California, including by the Named Plaintiffs
21   and other Plaintiffs. As part of the operation of Defendant’s 7-Eleven stores in
22   California, Defendant employs individuals throughout the State of California.
23         10. For purposes of the FLSA claim at issue in this action, Defendant is
24   required to comply with the FLSA regarding the work performed by its employees in
25   California; Plaintiffs’ employment for Defendant has been subject to the federal FLSA
26   because Plaintiffs had and have an employment relationship with Defendant; because
27   Plaintiffs and Defendant satisfy both the “individual coverage” and “enterprise
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1    coverage” criteria of the FLSA; and because the work performed by Plaintiffs for
2    Defendant which is the subject of this action occurred in the State of California;
3    therefore, at all times relevant hereto Defendant had, and still has, an obligation to
4    comply with the FLSA as it relates to Plaintiffs’ employment.
5          11. For purposes of the California employment laws at issue in this action,
6    Defendant is required to comply with certain sections of the California Labor Code,
7    the California Code of Regulations as contained in California Industrial Welfare
8    Commission Wage Order No. 7-2001, originally and as amended, and the California
9    Business & Professions Code regarding the work performed by its employees in
10   California, because Defendant has employed Plaintiffs in California with regard to
11   hours worked and expenses incurred in the course and scope of employment.
12         12. Venue lies in the U.S. District Court for the Central District of California,
13   Western Division, pursuant to 28 U.S.C. sections 1391(b) & (c) because a substantial
14   number of the events giving rise to the claims asserted in this Complaint occurred
15   within this District and Division, because Defendant resides within and has substantial
16   contacts in this District and Division, because Named Plaintiffs Dhillon and Lobana
17   reside and operate 7-Eleven retail convenience stores within this District and Division,
18   and because a substantial number of the class members on whose behalf this action is
19   brought reside and operate 7-Eleven stores within this District and Division.
20                     II.    GENERAL ALLEGATIONS AND FACTS
21                                   COMMON TO ALL COUNTS
22         13. This case is brought on behalf of individuals who are currently operating as
23   of the date of filing of this Complaint, or who come to operate after the date of the
24   filing of this Complaint, one or more of Defendant’s “7-Eleven” franchised retail
25   convenience stores in California under the terms of Defendant’s “2004 Franchise
26   Agreement” or successor agreements (collectively, “Defendant’s FA”).
27         14. In paragraph 2 of Defendant’s FA, the franchisees are directed “to hold . . .
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1    out to the public as an independent contractor,” and to “control the manner and means
2    of the operation of the Store.” But, with only limited and very narrow exceptions, the
3    remainder of the Defendant’s FA (and incorporated 7-Eleven operational manuals and
4    related directives) impose absolute actual or virtual control over all store operations.
5    In sum, the bulk of Defendant’s FA contradicts and renders impossible the directive in
6    paragraph 2, that franchisees are to control the manner and means of the operation of
7    the store.
8           15. Accordingly, although Defendant classifies Plaintiffs as independent
9    contractors, under the FLSA and applicable California wage-and-hour laws as
10   described herein, Plaintiffs are Defendant’s employees as a matter of law, not
11   independent contractors. Defendant’s failure to treat Plaintiffs as employees under
12   federal and California laws has caused them significant damage. The Named Plaintiffs
13   bring this action on their own behalf, and collectively on behalf of the Plaintiffs they
14   seek to represent for appropriate relief.
15      A. 7-ELEVEN’S RETAIL CONVENIENCE STORE BUSINESS
16          16. Defendant introduced the convenience store concept in 1927. It operated all
17   such stores as corporate-owned stores until 1964, when it acquired a chain of 126
18   franchised stores in California. Defendant (and its controlling affiliates) now own or
19   franchise at least 25,000 convenience stores world-wide, over 7,800 of which are
20   Defendant’s stores located within the United States; of those, approximately 1,500 are
21   located in the State of California. California has well more than double the number of
22   such stores in any other state.
23      B. THE FRANCHISE AGREEMENT
24          17. The origin of the form franchise agreement entered into between Defendant
25   and Plaintiffs arose from the settlement of class litigation instituted in 1993 as noted
26   in 7-Eleven Owners for Fair Franchising v. The Southland Corporation (2000) 85
27   Cal. App. 4th 1135 (the “OFFF Litigation”). In the OFFF Litigation, the First District
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1    Court of Appeal affirmed the terms of a settlement agreement on a nationwide class
2    basis. Among the various concessions secured for franchisees in the OFFF Litigation
3    settlement was an obligation that Defendant tender most franchisees a new franchise
4    agreement to become effective January 1, 2004. Although the OFFF Litigation
5    settlement did not specify the precise terms of the 2004 Franchise Agreement, it did
6    set forth certain parameters for the agreement to be tendered, including that it: (a)
7    have a term of at least ten years; and (b) not have a net adverse effect on average
8    Franchisee Net Income in any 7-Eleven Market, all to be determined under the
9    procedures set forth in an exhibit to the settlement agreement.
10         18. After the conclusion of the OFFF Litigation and completion of the required
11   procedures as set forth in the OFFF Litigation settlement, the “2004 Franchise
12   Agreement” (referred to above as Defendant’s FA) was executed by the vast majority
13   of the then existing franchisees in the 7-Eleven franchise system. The 2004 Franchise
14   Agreement had a 15-year term. As new franchisees were added after execution of the
15   core 2004 Franchise Agreement, the same form agreement was used, with limited
16   material changes as it relates to the issues in this case.
17         19. Attached as Exhibit “A” hereto is a true copy of the Franchise Agreement
18   between Haitayan and Defendant, based on the final form 2004 Franchise Agreement
19   approved pursuant to OFFF Litigation, and which is identical to, or substantially
20   similar to the 2004 Franchise Agreements between Defendant and all Plaintiffs in this
21   action.
22      C. GENERAL CONTROLS UNDER DEFENDANT’S FA
23         20. As Defendant admits in its 2016 FTC disclosures, “We [Defendant] retain a
24   significant financial and marketing advisory role in the franchise business than in most
25   other franchisee businesses.” By contractual dictate, Defendant’s FA and incorporated
26   operating procedures impose more pervasive control over franchisee activity than any
27   other in the United States.
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1          21. To insure its dominance and control over franchisee operations, Defendant
2    has been given most powers of an employer and all of the harshest, most overreaching
3    rights of a commercial lender, landlord, and personal property lessor. At the core of
4    Defendant’s control is its total dominion over every dollar received into or paid out of
5    proceeds generated from every franchise store. Defendant’s absolute control over the
6    money insures that Defendant gets paid every single day in full for all matured
7    obligations owed to Defendant before any store creditor, worker or franchisee receives
8    any monetary payment. Defendant’s control over the money also is used to impose its
9    will over virtually every aspect of a franchisee operation.
10         1. Financial Controls
11                a. Defendant’s Fees and Charges
12         22. At inception of the franchise relationship, a franchisee must pay an initial
13   Franchise Fee and a $20,000.00 “Down Payment” to cover a portion of the estimated
14   cost value of the initial inventory, initial governmental fees for licenses, permits and
15   bonds, and the initial “Cash Register Fund.” Beyond the initial costs of securing a
16   franchise, each franchisee is also obligated to pay Defendant the “7-Eleven Charge.”
17   The 7-Eleven Charge is paid in consideration for, among other things: (a) leasing the
18   franchisee’s use of the store building and required equipment; and (b) providing
19   services related to training, product inventory acquisition and control, and accounting
20   matters, including bookkeeping and audit work.
21         23. The amount of the 7-Eleven Charge in the 2004 Franchise Agreement is
22   50% of “Gross Profit,” which, generally, has been increased in the 2016 version. In
23   addition to initial fees and the ongoing 7-Eleven Charge, franchisees also pay
24   Defendant an advertising fee from the franchisee’s Gross Profit. The 7-Eleven charge
25   is due and payable daily. The advertising fee is due and payable “in the same manner
26   and at the same time . . . [as] “the 7-Eleven Charge.”
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1                 b. Defendant’s Control Over Money
2          24. To insure that the monies owed Defendant are paid every day and given
3    priority over all other creditors, the FA gives Defendant absolute power to select the
4    franchise store’s bank account, mandate all store receipts be deposited into that
5    account, and control all payments made out of that account. In sum, Defendant
6    determines when and how any and all payments from store receipts are paid, whether
7    to franchisee, worker or vendor.
8                 c. Defendant’s Control Over Accountings Matters
9          25. All deposits into and disbursements out of a store’s bank account are
10   recorded by Defendant in an “Open Account,” which amounts to a daily accounting
11   detailing all franchisee debits and credits, a figurative scorecard keeping track of how
12   the franchisee financially stands with Defendant. The beginning entry into the Open
13   Account is the difference between the initial costs of starting a franchise and the
14   Down Payment that the franchisee is required to make. After debiting the Open
15   Account in an amount equal to the difference between all the initial fees and start-up
16   costs and the Down Payment, Defendant continually maintains a daily running Open
17   Account by crediting all receipts and debiting all withdrawals, including, particularly,
18   all purchases of inventory, all operating expenses incurred, “Draws” taken by the
19   franchisee, and “amounts you owe us [Defendant], regardless of when we [Defendant]
20   pay such amounts for you.” Plaintiffs have no control over the Open Account.
21         26. Defendant is given broad discretion in determining how to account for
22   entries into the Open Account. For example, the initial inventory cost that Defendant
23   sells to the franchisee is set at an “amount we [Defendant] determine to be our
24   approximate cost for the merchandise.” Plaintiffs have no such discretion regarding
25   the Open Account.
26                d. Defendant’s Control as Discretionary Secured Lender
27         27. Beyond the initial negative balance generated from initial store opening
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1    costs, Defendant recognizes that operating expenses may exceed store receipts for at
2    least the first 90 days of operation. If, at any time, the Open Account does not reflect a
3    “Minimum Net Worth” of $15,000.00, then Defendant may terminate Defendant’s FA
4    provided no cure within 3 business days after receipt of notice. Plaintiffs have no such
5    right.
6             28. To insure payment, Defendant holds a first lien against every form of
7    property right that the franchisee owns in relation to the store.
8             29. Prior to termination, Defendant “may stop financing immediately and
9    declare the unpaid balance in the Open Account immediately due” if “we [Defendant]
10   believe our security interest is threatened.”
11            30. At no time may the franchisee grant a security interest in, or otherwise
12   encumber, the Defendant’s FA or the collateral, which is defined broadly to include
13   virtually any and every tangible right that the franchisee holds in relation to the
14   franchise relationship.
15            2. Work Controls
16                   a. Work Without Pay Before Acceptance as a Franchisee
17            31. A prospective franchisee is obligated to complete 300 hours of training
18   before Defendant advises whether the prospective franchisee is qualified and what
19   store he or she will be assigned. If the prospective franchisee is not deemed worthy by
20   Defendant after completing 300 hours of training, that prospect is paid nothing and
21   must pay back Defendant specified expenses.
22                   b. Franchisees Must Operate Their Stores Every Day of the Year
23            32.    A franchisee store must operate “24 hours a day, 7 days a week (except at
24   . . . [the franchisee’s option] Christmas day.)” The only exception to 24-hour
25   operation is where a local zoning ordinance mandates store closure, but in such cases
26   a monetary penalty is imposed on the franchisee to Defendant. Otherwise, if the
27   franchisee does not maintain a “24-Hour Operation,” then, at Defendant’s election, the
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1    franchisee can be terminated or the 7-Eleven Charge may be increased.
2          33. In maintaining the 24-Hour Operation at least 364 days per year, the
3    franchisee must “devote . . . full time and best efforts to the business of the Store and
4    to maximizing the Store’s sales and Gross Profit . . . .” When devoting “full time and
5    best efforts” and maintaining the 24 Hour Operation at least 364 days per year, the
6    franchisee must “supervise the Store’s operation . . . .”
7                 c. Monies Paid To Franchisees for Their Work
8          34. The only money that a franchisee is entitled to receive during the pendency
9    of Defendant’s FA are three different draws: the “Weekly Draw,” the “Monthly
10   Draw,” and the “Excess Investment Draw.” None of the draws are available if there is
11   any breach of Defendant’s FA. The Weekly Draw is in an agreed upon amount set
12   forth in Defendant’s FA at Exhibit “D,” ¶ (h). The Monthly Draw is available only if
13   there are increases in Net Worth over a 3 month period. The Weekly, Monthly, and
14   Excess Investment Draws are only available if Net Worth exceeds the Store’s total
15   assets plus $15,000.00.
16         35. If Defendant’s FA is terminated, the franchisee is obligated to pay
17   Defendant any unpaid balance in the Open Account.
18         36. In sum, before the franchisee is entitled to receive any money, the
19   franchisee is obligated to pay a negotiated “Initial Franchise Fee” and initial store
20   opening costs, and work until the initial negative Net Worth plus $15,000 is
21   overcome.
22         37. If, at termination, a store net worth is negative, then some or all of the
23   franchisee’s draws must be paid back to Defendant.
24         38. In the final analysis, the franchisee is obligated to pay the franchisor to
25   work for free for months, while the franchisor receives up front compensation and
26   financial guarantees backed by dramatic financial controls insuring that the
27   franchisee’s ultimate success will carry with it complete assurance that Defendant’s
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1    ongoing fees will be paid first every single day before the franchisee or any store
2    creditor or worker receives anything.
3          3. Operational Controls
4                 a. Control Over Product and Services Sold
5          39. Defendant has sole control over the initial stocking of product to be sold in
6    the store. Generally, Defendant dictates in totality what services may be sold and what
7    product may be stocked on shelves, including, “the containers, ingredients,
8    condiments, and other items used or furnished” in the preparation or sale of a product.
9          40. Defendant’s absolute control extends to the type and quantity of products
10   sold in the store, including all “Proprietary Products,” “Fresh Foods,” and regionally
11   or nationally advertised or promoted products and products that are “exclusive to 7-
12   Eleven in the convenience store channel.”
13                b. Control Over Sources Used to Acquire Product and Services Sold
14         41. Defendant admits that, “You [franchisee] must comply with our
15   [Defendant’s] standards and specifications for all products and services carried, used
16   or offered for sale at your store.” As initial store product originally stocked by
17   Defendant is sold, all replacement product must be obtained from “Bona Fide
18   Suppliers,” which is defined to exclude any franchisee or their affiliates.
19         42. Franchisees may only order replacement product through Defendant’s “on-
20   line” ordering system, orders may only be placed once a week during a specified 24-
21   hour time window, and generally, cash purchases are strongly discouraged or
22   prohibited. Of the exclusive Bona Fide Suppliers from which all replacement product
23   must be obtained, eighty-five percent (85%) of inventory replacements must be
24   obtained from Bona Fide Suppliers approved by Defendant identified in Defendant’s
25   FA as “Recommended Vendors.” One hundred percent (100%) of all Fresh Foods
26   must be purchased from Recommended Vendors that Defendant approves. One
27   hundred percent (100%) of all Proprietary Products and gasoline must be obtained
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1    from Defendant or sources it designates and the franchisee is prohibited from offering
2    any competing products. Defendant has abused these rights to control the vendors that
3    can be used to replace product as a means to impose very costly, labor intensive tasks,
4    which are charged 100% to franchisees.
5                    c. Control Over How Products and Services Are Sold
6           43. Defendant solely dictates the location, size and layout of the store, the
7    store’s decorations, fixtures and furnishings, and the equipment to be used. Such
8    things as the width of aisles and height of shelving are dictated with little regard for
9    safety and crime considerations. The franchisee has no authority to remodel the store
10   premises or to change any of the fixtures without Defendant’s consent.
11          44. Defendant dictates the use of new or different equipment whenever it
12   chooses to do so. Defendant’s required equipment includes equipment necessary to
13   provide certain services within the store such as ATM machines, air dispensing
14   equipment, and pay telephones. Franchisees must bear all such costs and have no right
15   to reject it.
16          45. Defendant absolutely controls how product is packaged and displayed in the
17   franchisee’s store.
18                   d. Control Over Advertising
19          46. Although the franchisee is required to pay Defendant a half to one-and-a-
20   half percent of its Gross Profits toward advertising costs, the franchisees have no say
21   over how that money is spent.
22          47. While franchisees are authorized to spend their own monies on additional
23   “local” advertising, any such promotional activity requires Defendant’s written
24   approval if the materials have not been prepared or previously approved by
25   Defendant.
26          48. The franchisee is absolutely prohibited from doing any internet advertising
27   or selling of product or merchandise electronically (“websites, email, mail order or
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1    similar means”) or otherwise except at the physical location of the store.
2                 e. Control Over Use of Store Premises
3          49. Defendant leases the store to the franchisee “solely for the operation of a
4    franchised 7-Eleven Store . . . .” Notwithstanding the landlord/tenant relationship
5    created, Defendant reserves the right to use unlimited portions of the Store for its own
6    designated purposes.
7                 f. Control Over Food Service Standards
8          50. The franchisee is obligated to comply with 7-Eleven Foodservice Standards
9    (“Foodservice Standards”). The term 7-Eleven Foodservice Standards is defined to
10   mean “mandatory and suggested quality, foodservice and other reasonable operating
11   standards as may from time to time be established by us [Defendant] and set out in the
12   Operations Manual.”
13         51. Defendant’s Operations Manual is over 1,000 pages in length (“Operations
14   Manual”), and as noted above, it changes from time to time at Defendant’s discretion.
15         52. Over time, Defendant has abused the right to control the type of product
16   sold and related setting of standards to impose very costly, labor intensive tasks,
17   which are charged 100% to franchisees.
18                g. Control Over Information and Ideas Generated from Store
19                Operations
20         53. Defendant owns “all information and data compiled by or stored in the 7-
21   Eleven Store Information System” or in “any other store information systems used at
22   or by the Store . . . .” Defendant has the “right to use in any manner we [Defendant]
23   elect (including selling and retaining all proceeds from such sales) the information
24   compiled and managed by or stored in the 7-Eleven Store Information System or any
25   other store information systems used at or by the Store . . . .”
26         54. The franchisee is required to provide Defendant virtually every conceivable
27   form of information that can be generated relative to store operations, whether created
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1    by the equipment that the franchisee is obligated to use or in the hands of third parties.
2           55. The franchisee is obligated to disclose and grant Defendant a “perpetual
3    royalty-free license to use and sublicense” any new concept, process or improvement
4    in operation or promotion of the store developed by the franchisee or any worker in
5    the store.
6           56. The franchisee is obligated to maintain strict confidentiality with respect to
7    all such information or anything else deemed confidential by Defendant.
8           57. In contrast to Defendant’s full ownership rights to all information generated
9    from the franchisee store, the franchisee may not use such information in any respect
10   “except in connection with your [franchisee’s] operation of the Store and as needed to
11   effectively work with your Store suppliers.”
12          58. In contrast to Defendant’s right to sell and retain all proceeds from the sale
13   of information and the entitlement to a royalty free license, the franchisee is required
14   to maintain strict confidentiality and “may not sell all or any part of the information or
15   data compiled by or stored in the 7-Eleven Store Information System to any individual
16   or entity.”
17                  h. Control Over Maintenance of Store Premises and Equipment
18          59. Defendant is responsible for repainting the store, replacing windows and
19   doors, maintaining the HVAC, and repairing floor coverings, the foundation, parking
20   lot roof, and exterior walls, but only when Defendant considers it necessary. The
21   franchisee is responsible for maintaining everything else, including equipment.
22          60. Except for maintenance contracts for landscaped areas outside the store,
23   Defendant selects the contractor that the franchisee must use when meeting
24   maintenance obligations.
25                  i. Control Over General Business Operations
26          61. Before acceptance as a franchisee, Defendant requires the franchisee to
27   complete Defendant’s “Training Program.” If the initial training is completed to
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1    Defendant’s satisfaction, then the franchisees are required to secure various licenses
2    and permits. Only after the initial training is satisfactorily completed in Defendant’s
3    opinion, and required licenses and permits have been obtained and all other conditions
4    are satisfied, does Defendant’s FA becomes effective and the franchisee begins
5    operating his assigned store.
6          62. From inception of store operations, the franchisee is obligated to conduct all
7    business “in compliance with . . . the 7-Eleven Operations Manual and with the 7-
8    Eleven System.” The 7-Eleven System is defined to mean the “system for the
9    fixturization, equipping (including the development and use of computer information
10   systems hardware and software), layout, merchandising, promotion . . . including
11   advertising.”
12         63. According to Defendant’s FA, the 7-Eleven Operations Manual sets forth
13   “required operating standards and procedures for compliance with the 7-Eleven
14   System,” and includes “information regarding . . . . [the provision of] excellent
15   customer service, training, Store operations and accounting procedures . . . .”
16   Defendant’s FA also expressly provides that franchisees, “agree to comply with all
17   standards, specifications, operating procedures and other material contained in the 7-
18   Eleven Operations Manual . . . .”
19         64. The Operations Manual contains hundreds of additional, express directives
20   for franchisees to perform. The Operations Manual contains hundreds more directives
21   relayed by reference to computer links. Incorporated by reference into the Operations
22   Manual is Defendant’s “On-Line System Support Guide,” yet another substantial
23   electronic directive incorporating other, undefined “printed or on-line manuals we
24   [Defendant] have developed . . . .”
25         65. By express contractual provision, all such operational rules may be added,
26   amended or modified in virtually any way at any time Defendant decides.
27         66. Among the multitude of directives imposed by such means is Defendant’s
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1    “Expand the Assortment” directive dictating new product offerings in the store.
2           67. Defendant’s right to mandate innumerable changes imposes further
3    obligations upon the franchisee and the store’s workers to participate in additional
4    trainings to carry out those changes.
5           68. The franchisee is obligated to be responsible for all expenses related to any
6    additional required training.
7           69. All internal operations of the store must be conducted through the
8    equipment that Defendant supplies.
9           70. If the franchisee is an entity and wants to make any changes to that entity,
10   then the franchisee is required to use service providers designated by Defendant.
11                 j. Control Over Management of Store Employees
12          71. Among others things, the 7-Eleven System obligates the franchisee to hire
13   workers for the store that are proficient in the English language, have a “clean and
14   neat personal appearance,” and communicate with customers in a “prompt, efficient
15   and courteous” manner, which expressly includes “greeting and thanking each
16   customer . . . .”
17          72. Franchisees are also obligated to require store employees to “wear, only the
18   apparel . . . approved by us [Defendant] while working in the Store.”
19          73. Franchisees are required to train store workers using employee training
20   materials provided by Defendant.
21          74. To insure that the franchise hires workers acceptable to Defendant, the
22   “Hire Right” Process has been mandated. The “Hire Right” aspect of the 7-Eleven
23   System instructs franchisees on recruiting, job posting, prospect screening and
24   interviewing, and training.
25          75. The Operations Manual goes further to instruct on employment terms, pay
26   practices, employee benefits, performance appraisals, and discipline, including
27   employment terminations.
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1           76. Defendant solely controls payment of all wages to both the franchisee and
2    the store’s employees.
3                  k. Oversight to Insure Compliance
4           77. Defendant is given express contractual oversight rights, including access to
5    all “sales data from the cash registers without any contractual limitations.” Defendant
6    also has the right to enter a franchisee’s store at any time “for the purpose of
7    conducting inspections to determine whether the Store is in compliance with 7-Eleven
8    Foodservice Standards. If, in the opinion of Defendant, the franchisee has failed to
9    comply with 7-Eleven Foodservice Standards, then Defendant is given the power to
10   “require you [franchisee] to immediately stop serving any or all items from the
11   Foodservice Facility . . . .”
12      D. ADDITIONAL FACTS RELEVANT TO MISCLASSIFICATION OF
13          FRANCHISEES
14          78. As alleged herein, the Named Plaintiffs bring claims, individually and on
15   behalf of Plaintiffs, against Defendant for violation of overtime laws under the FLSA
16   and California law, and against Defendant for violation of laws in California related to
17   business expenses. Defendant violated these laws as a result of its misclassification of
18   franchisees as independent contractors, and not employees.
19                 1. Misclassification of Franchisees Under the FLSA
20                        a. Judicial Construction of the Controlling Statutory Language
21          79. Section 207 of the FLSA requires “employers” to pay their “employees”
22   overtime compensation for those who work more than forty hours in a given
23   workweek. The FLSA defines the term “employee” as “any individual employed by
24   an employer.” The FLSA defines the term “employ” to include “to suffer or permit to
25   work.” According to the United States Supreme Court, a broader or more
26   comprehensive coverage of the terms employee and employ would be difficult to
27   frame.
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1           80. According to the United States Supreme Court, the test of employment
2    under the FLSA is one of “economic reality.” And, according to the Wage and Hour
3    Division of the United States Department of Labor, the “economic realities” test
4    demands focus on whether the worker is “economically dependent” on an employer.
5                        b. The Federal Six-Factor “Economic Realities” Test
6           81. In the Ninth Circuit, a non-exhaustive list of six factors are considered when
7    deciding whether it is economically realistic to view a relationship as one of
8    employment or not. The ultimate focus of the economic realities test is whether, as a
9    matter of economic reality, the individuals are dependent upon the business to which
10   they render service, and the six factors considered when assessing the “economic
11   reality” of dependence or independence are: (a) the degree of the alleged employer’s
12   right to control the manner in which the work is to be performed; (b) the alleged
13   employee’s opportunity for profit or loss depending upon his or her managerial skill;
14   (c) the alleged employee’s investment in equipment or materials required for his or
15   her task, or his or her employment of helpers; (d) whether the service rendered
16   requires a special skill; (e) the degree of permanence of the working relationship; and
17   (f) whether the service rendered is an integral part of the alleged employer’s business.
18          82. The directive in Defendant’s FA that franchisees “hold . . . out to the public
19   as an independent contractor” is not conclusive, because the economic realities and
20   not contractual labels are dispositive. Stated alternatively, the subjective intent of the
21   parties to a labor contract cannot override the economic realities reflected in the six-
22   factor test.
23                       c. 7-Eleven Franchisees are Employees Under the Six Factor
24                       Test
25                              i. Factor No. 1: Right to Control
26          83. Defendant openly admits in Defendant’s FA that it retains “a significant
27   financial and marketing advisory role in the franchise business than in most other
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1    franchisee businesses.” This admission grossly understates the degree of Defendant’s
2    control.
3          84. Defendant exercises absolute dominion over revenues generated by the
4    franchise store. Defendant receives all money and decides who gets paid when,
5    including that Defendant always gets paid first before store workers, store vendors and
6    the franchisee. Defendant exclusively handles and unilaterally resolves all accounting
7    issues associated with handling money, including who owes whom what under the
8    “Open Account” it maintains. As security to insure payment of any obligation that
9    Defendant determines is owed by the franchisee, Defendant holds a first lien against
10   the few assets that a franchisee owns under Defendant’s FA. The franchisee is
11   prohibited from using any of its assets under Defendant’s FA to secure financing from
12   any other source. If at any time Defendant believes its security interest is threatened, it
13   can terminate Defendant’s FA, declare the entire unpaid balance in the Open Account
14   due without notice or opportunity to cure, and move forward with exercising default
15   rights under its security agreement.
16         85. Defendant controls virtually every aspect of what and how goods and
17   services are sold in a franchisee store. The franchisee is afforded minimal discretion as
18   to what goods and services may be offered for sale in a franchisee store. Vendor
19   supply sources for most goods and services offered for sale are severely restricted by
20   Defendant’s operational rules. Many of the goods and services offered for sale must
21   be entirely purchased from vendors dictated by Defendant. The advertising,
22   packaging, and display of goods and services for sale in the store are virtually 100%
23   controlled by Defendant. A lengthy Operations Manual prepared by Defendant sets
24   forth extensive rules related to foodservice standards and related operations.
25   Defendant, not the franchisee, totally controls how store space is used.
26         86. Defendant dictates virtually all activities associated with administering the
27   operation of the business. The franchisee must operate its store 24-hours per day
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1    (subject only to local zoning restrictions), 7 days a week, and 364 days per year
2    without fail. Throughout this year long, every day, every hour operation, the
3    franchisee is required to work full time and devote best efforts. The workers hired to
4    maintain the year round, 24-hour operation must be proficient in English, satisfy
5    Defendant’s appearance and manner standards, and wear clothing mandated by
6    Defendant. Workers also must be trained using materials prepared by Defendant, and
7    the franchisee’s compensation and hiring and firing practices are directed in material
8    respects by Defendant. Defendant, not the franchisee, processes all payroll for store
9    workers, paid for by franchisees. Defendant, not the franchisee, also maintains
10   custody over all payroll records for all store workers.
11         87. Defendant’s mandated operational rules that both franchisees and store
12   workers must master are extensive. Mandated rules include those set forth in
13   Defendant’s Operations Manual and On Line System Support Guide consisting of
14   more than 1,000 pages of materials and dozens of other computer links and other
15   material created by Defendant. A franchisee must participate in an estimated 300
16   hours of training before there is any opportunity to be compensated for work. Even
17   after initial training is completed, Defendant retains the right to change operational
18   rules, which may require additional mandatory training. The equipment used to carry
19   out day to day store activities, including, particularly, all point of purchase equipment,
20   is solely and exclusively provided by Defendant. With limited exceptions, the
21   franchisee is responsible for all maintenance obligations, but Defendant dictates the
22   maintenance service provider that must be used when meeting such responsibilities.
23   To insure compliance with the myriad of rules that must be followed, Defendant holds
24   extensive enforcement rights.
25         88. While Defendant’s FA purports to give franchisees control over the manner
26   and means of store operations and control over employment practices and policies,
27   such self-serving characterizations, like contractual labels, do not neuter the reality of
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1    what Defendant’s FA requires. The Operations Manual, which the franchisee is
2    obligated to follow, mandates a “10 Day Training Plan” for store workers, which is
3    said to provide a “step-by-step” plan to train new employees. The program provides
4    instruction in 25 different categories ranging from customer service, suggestive
5    selling, work safety, and fraud prevention, among many others. The Operations
6    Manual also includes a nearly 50-page guide for handling “human resources,”
7    providing directives on such things as employee recruitment, screening and
8    interviewing, disciplinary guidelines, and compensation practices.
9                                ii. Factor No. 2: Opportunity for Profit or Loss Based
10                               Upon Managerial Skill
11            89. The massive controls imposed by Defendant through Defendant’s FA and
12   its incorporated manuals and guides offer little opportunity for the franchisee to
13   exercise any managerial skills beyond: (1) hiring and firing of particular store workers
14   consistent with Defendant’s “training;” (2) setting wages pursuant to Defendant’s
15   compensation packages; and (3) changing product pricing to the very limited extent
16   feasible in light of the required use of Defendants retail information system (“RIS”).
17   While Defendant touts its price tags on various products as “suggested,” the reality is
18   that the labor required to change Defendant’s “suggested” pricing is so labor intrusive
19   that it is cost prohibitive to change “suggested” prices for most products sold in the
20   store.
21            90. Managerial skills associated with those limited activities have little impact
22   on profitability, because most store workers rarely command more than minimum
23   wage and product and pricing is dictated in material respects by competitor pricing
24   and the cost of goods, which are materially controlled by Defendant’s contractually
25   mandated “Recommended Vendor” and “Bona Fide Supplier” requirements, neither of
26   which is controlled by a franchisee. More specifically, franchisees cannot feasibly
27   change Defendant’s “suggested” pricing system and they have little control over cost
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1    of goods, because Defendant, in virtually all material respects, dictates where and
2    from whom products and services must be obtained.
3                              iii. Factor No. 3: Relative Investment in Equipment,
4                              Materials and Helpers
5          91. Defendant provides everything essential to running the store, including the
6    facility, furniture and fixtures, all allowable equipment, initial inventory, and start-up
7    capital. While the franchisee hires “helpers,” there is no choice in the matter, because
8    no one person (or even two or three people) can realistically operate a 24-hour, 364
9    day a year business by themselves. To the extent that a franchisee can be said to
10   “invest” in “helpers” in this context, it is done only through the discretionary lending
11   of the only banker that the franchisee can use, i.e. Defendant.
12                             iv. Factor No. 4: Special Skill for Services Rendered
13         92. Franchisees use no “special skill” beyond the “people skills” discussed in
14   Factor No. 2. Those skills require no special education and no training other than
15   those associated with complying with Defendant’s dictates for managing a
16   convenience store. The skills actually exercised involve little more than managing
17   people, carrying out Defendant’s contractual mandates, and generally being forced to
18   accede to Defendant’s pricing suggestions.
19                             v. Factor No. 5: Permanence of the Working
20                             Relationship
21         93. Generally speaking, and assuming no breach of onerous termination
22   provisions, Defendant’s FA has a 15-year term and subsequent versions of
23   Defendant’s FA have a 10- to 15-year term. Permanence of the relationship suggests
24   an employee relationship, because a true independent contractor is not impeded from
25   moving project to project and does not continuously work for the same entity.
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1                              vi. Factor No. 6: Whether Services Performed Are An
2                              Integral Part of Employer’s Business
3          94. The franchisee’s work entails selling the same goods and services that
4    Defendant sells in its corporate-owned stores. Franchisee stores are not just an integral
5    part of Defendant’s business, they are, in fact, a mere extension of the very same
6    business Defendant operates in its corporate-owned stores.
7                              vii. Summary of the FLSA Six-Factor Analysis
8          95. The FLSAs six-factor analysis is designed as a tool to assess whether there
9    is economic dependence between Defendant and its franchisees. Franchisees are
10   controlled and dominated by Defendant in every material respect that works to
11   Defendant’s benefit, they are integral to Defendant’s core business, and franchisees
12   are completely incapable of operating without, and inescapably dependent upon,
13   Defendant for their continued viability and existence.
14         96. To the extent “economic dependence” is not conclusively established on the
15   face of Defendant’s FA, Defendant’s actual exercise of contractual powers illustrate
16   that franchisees are Defendant’s employees. Defendant routinely exercises its
17   contractual power to reduce franchisee income. For example, by franchisees offering
18   “fresh foods,” franchisees are obligated to reduce offerings of pre-packaged food
19   products. Quite obviously, “fresh foods” are labor intensive and, under the terms of
20   Defendant’s FA, all labor costs are born 100% by the franchisees. Consequently,
21   Defendant’s percentage of net revenues goes up and franchisee earnings go down.
22         97. Another tactic Defendant has employed to reduce franchisee earnings and
23   promote “dependence” has been to delay replacement of dilapidated equipment
24   essential to running a franchise store. Forcing franchisees to use old and worn out
25   equipment delays Defendant’s obligation to cover the cost of replacing equipment,
26   thereby improving Defendant’s profits. In contrast, the consequence of Defendant’s
27   self-motivated tactic is to increase franchisee labor and equipment maintenance costs,
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1    because older equipment makes for inefficient workers and higher costs to maintain.
2          98. In addition, to increase franchisee costs and impose greater dependence
3    Defendants changed how equipment maintenance was managed. Historically,
4    Defendant devoted an internal staff to managing various vendors involved with
5    equipment maintenance. Defendant has since discharged its equipment maintenance
6    staff and outsourced that responsibility to a third party vendor. By doing so,
7    Defendant passed such management responsibilities to a less qualified group and
8    passed on all the attendant, additional cost to franchisees.
9          99. Another practice promoting greater franchisee dependence on Defendant
10   involves the ordering of replacement goods for sale in franchisee stores. Because most
11   replacement goods must be ordered through vendors Defendant selects through
12   contracts Defendant negotiates, Defendant has forced franchisees to accept suppliers
13   that offer no support to franchisees such as unloading and stocking shelves. By
14   eliminating such services that historically were commonly provided by vendors,
15   franchisees have been forced to hire more workers to perform these labor intensive
16   tasks previously performed by suppliers. Because all such labor is born entirely by
17   franchisees, Defendant implemented this change in business practice to reduce
18   franchisee earnings and increase franchisee dependence.
19         100. Franchisee’s only prospect for generating a fair wage is to employ fewer
20   workers and extend the franchisee’s work hours and/or accept responsibility for
21   running more stores. To advance this goal, Defendant also has increased franchisee
22   dependence by materially changing the 50/50 profit split under Defendant’s FA every
23   time Defendant’s lease of the store from a third party terminates, whether with or
24   without Defendant’s consent or manipulation. Such changed business practices have
25   materially impacted a franchisee’s economic dependence upon Defendant.
26         101. Defendant has used the increased economic dependence to cajole
27   franchisees into buying Defendant’s corporate stores or abandoned franchise stores at
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1    highly inflated prices just to offer franchisees some chance to maintain required net
2    worth balances in franchisee open account ledgers with Defendant. These tactics have
3    been employed so pervasively that Defendant has materially reduced the number of
4    corporate stores in relation to franchisee stores. Defendant has decided to decrease the
5    number of corporate stores, because Defendant’s intentional assault upon franchisee
6    earnings has made the “franchising” part of Defendant’s business far more profitable.
7    This assault on franchisee earnings, however, has materially increased franchisee
8    dependence on Defendant to earn a living, which, in turn, further supports a
9    conclusion that Defendant has turned alleged independent contractor franchisees into
10   employees.
11                2. Misclassification of Franchisees Under California Law
12                      a. California Law
13         102. California Labor Code section 1194, and California Code of Regulations,
14   title 8, section 11070, subsection 3 require “employers” to pay their “employees”
15   overtime compensation for those who work more than eight hours in a given workday
16   and forty hours in a given workweek. California Labor Code section 2802, and
17   California Code of Regulations, title 8, section 11070, subsection 9 require
18   “employers” to pay for certain business-related expenses which “employees” incur in
19   the course and scope of employment for their employment.
20                      b. The California Three-Prong Test for Employment
21         103. California Code of Regulations, title 8, section 11070, subsection 3 defines
22   the term “employee” to mean, “any person employed by an employer . . . ,” and the
23   term “employ” means, “to engage, suffer, or permit to work.” Construing these
24   definitions, the California Supreme Court has held that an “employer” is one who: (1)
25   exercises control over the wages, hours or working conditions of the worker, or (2)
26   suffers or permits the worker’s work, or (3) engages the workers, thereby creating a
27   common law employment relationship. Under the terms of Defendant’s FA,
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1    franchisees provide services for Defendant and franchisees are employees under all
2    three standards in California for establishing an employment relationship.
3                       c. Franchisees are Employees Under Each Alternative Test
4                              i. Alternative No. 1: Control Over Wages, Hours and
5                              Working Conditions
6          104. Defendant is an employer of the franchisees because it exercises control
7    over the franchisee’s wages, hours and working conditions. Defendant’s control over
8    franchisee wages is evidenced in multiple provisions of Defendant’s FA, including
9    control over the amount and timing of “conditional” draws payable to franchisees.
10         105. Defendant’s control over franchisee hours is just as clear. Defendant’s
11   control over working conditions is extensive as to the tiniest of minutia, including the
12   control of temperature settings in franchisee stores. While control over either wages,
13   hours or working conditions is sufficient to satisfy the test for establishing an
14   employment relationship in California, all three are established in relation to
15   Defendant’s relationship with its franchisees.
16                             ii. Alternative No. 2: Common Law Employment Test
17         106. Defendant is an employer of the franchisees because Defendant has the
18   “right to control” the manner and means by which, i.e., the details, the franchisee
19   accomplishes the work of managing the 7-Eleven store assigned. The so-called
20   “control of details” test is the principal measure for determining a common law
21   employment relationship in California, because whether a common law employer-
22   employee relationship exists turns foremost on the degree of a hirer’s “right to control
23   how the end result is achieved.” What matters most in California is whether the hirer
24   “retains all necessary control” over its operations; the fact that a certain amount of
25   freedom of action is inherent in the nature of the work does not change the character
26   of the employment, where the employer has general supervision and control over it.
27         107. Defendant’s “right to control” how a franchisee accomplishes his/her work
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1    is illustrated by Defendant’s control over: (a) the store the franchisee will be assigned
2    to operate; (b) the product and services that can be sold; (c) the sources that may be
3    used to acquire product and services to be sold; (d) how and where product and
4    services are advertised, promoted and sold; (e) quality assurance standards for
5    products and services sold; (f) use and ownership of information generated from store
6    operations; (g) how and by whom operational equipment is maintained; (h) training to
7    perform franchisee work, including the nature and amount of training for the
8    franchisee and store workers and whether it was satisfactorily completed; (i) how
9    essential business functions are conducted, including the equipment that must be used
10   in carrying out those functions; and (j) how to train, instruct and pay store workers,
11   including controls over hiring and firing practices, language, dress, appearance,
12   customer interactions and wage payments. Failure to comply with Defendant’s
13   extensive system of controls gives rise to Defendant’s right to terminate Defendant’s
14   FA.
15         108. Although the “control of details” common law test is the principal measure
16   in assessing whether an employment relationship exists, it is not necessarily the only
17   consideration. For example, the right to discharge at will and without cause provides
18   strong evidence in support of an employment relationship. While Defendant does not
19   have the right to terminate Defendant’s FA at will and without justification or cause,
20   franchisees have the right to terminate on 72 hours’ notice. The right of a worker to
21   terminate on such short notice is indicative of a franchisee’s employee status, because
22   an employee may quit, but an independent contractor is legally obligated to complete
23   his contract.
24         109. Work over a period of years as evidenced by Defendant’s FA’s 10- to 15-
25   year term also evidences an employment relationship, because the notion that an
26   independent contractor is someone hired to achieve a specific result that is attainable
27   within a finite period of time is at odds with those engaged in prolonged service.
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1          110. When assessing the existence of an employment relationship, other
2    “secondary indicia” may also be taken into account. The “secondary indicia” are: (a)
3    whether the one performing services is engaged in a distinct occupation or business;
4    (b) the kind of occupation, with reference to whether, in the locality, the work is
5    usually done under the direction of the principal or by a specialist without supervision;
6    (c) the skill required in the particular occupation; (d) whether the principal or the
7    worker supplies the instrumentalities, tools, and the place of work for the person doing
8    the work; (e) the length of time for which the services are to be performed; (f) the
9    method of payment; (g) whether or not the work is a part of the regular business of the
10   principal; and (h) whether or not the parties believe they are creating the relationship
11   of employer-employee. Virtually all of these “secondary indicia” indicate that the
12   relationship between Defendant and its franchisees is one of employer-employee.
13         111. Management of a convenience store does not involve a distinct occupation
14   or business, especially when store facilities, store workers, and store products are
15   identified by Defendant’s name. Managing a 7-Eleven convenience store in California
16   is not an occupation believed to be performed by a specialist without supervision,
17   especially given that, historically, more than 25% of 7-Eleven stores have been
18   corporate-owned and operated and there have been dozens of such corporate stores in
19   California. Especially given Defendant’s pervasive controls over a franchisee’s
20   operations, the degree of skill required in running a store is minimal.
21         112. Defendant provides the store premises where the franchisee will operate
22   and it mandates use of virtually all necessary “instrumentalities and tools” to manage
23   the store. Franchisee’s duration of work is defined by time measured at a decade or
24   more and not by job. While Defendant is neither paying by job (supporting
25   independent contractor status), nor time (indicative of employee status), complex
26   payment arrangements such as that implemented for Defendant’s franchisees under
27   Defendant’s FA is generally seen to be a neutral factor when assessing employee
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1    verses independent contractor classification issues.
2          113. The job performed by franchisees is part of Defendant’s regular business.
3    While the contractual provision requiring franchisees to hold themselves out as
4    independent contractors may reflect a belief that such a relationship would exist,
5    contractual labels are not conclusive, and in fact, an independent contractor
6    “contractual label” will not inhibit a contrary conclusion as a matter of law. This
7    conclusion is especially compelling given how Defendant has compelled franchisee
8    dependence over the last several years by intentionally and tactically manipulating
9    contractual powers to erode franchisee earnings.
10                             iii. Alternative No. 3: Suffer or Permit to Work
11         114. Defendant must exercise reasonable care to see that work is not performed
12   contrary to law as to any worker Defendant “suffers or permits” to work for it.
13   Defendant violates this standard, because it: (1) mandated 300 hours of work without
14   pay; (2) mandated a contractual arrangement imposing monumental obligations
15   directing a franchisee to use their best efforts and to operate a convenience store up to
16   24 hours a day, 364 days a year; (3) contractually dictated pervasive controls plainly
17   creating an employment relationship; and (4) failed to take any steps to monitor
18   whether the monumental obligations created were causing its franchisees to forego
19   overtime pay.
20      E. OTHER REASONS WHY FRANCHISEES ARE MISCLASSIFIED AS
21         INDEPENDENT CONTRACTORS BY DEFENDANT
22         115. After enduring hundreds of hours of training without pay, a franchisee may
23   be given the opportunity to receive draws, monies they may have to repay if the
24   franchise store comes to a calamitous ending. Throughout the entirety of the
25   relationship, franchisees are subject to an in term non-competition covenant. At any
26   time during the course of the potential 10- to 15-year relationship, franchisees can lose
27   all rights based upon various termination rights held by Defendant.
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1          116. Among the circumstances that could lead to early termination includes
2    multiple different default provisions. Among the various, separate default provisions,
3    there are dozens providing for termination upon 45 days’ (or less) notice and cure
4    rights. There also are well more than a dozen default provisions permitting
5    termination with 3 days’ (or less) notice and cure rights. Additionally, one no cure
6    termination provision arises if, “we [Defendant] determine, in a normal course of
7    business, to cease the operation of all 7-Eleven stores in the state or metropolitan
8    statistical area in which your [franchisee’s] store is located.”
9          117. Another termination right arises if Defendant fails to maintain a leasehold
10   interest on the franchisee’s store premises. Should any such issues or others arise
11   during the relationship, the franchisee has very limited ability to transfer a store for
12   any good will value generated, because all such rights are subject to numerous
13   limitations, including Defendant’s “prior written consent,” Defendant’s right of first
14   refusal, and Defendant’s right to sell a proposed transferee another store.
15         118. If Defendant’s FA is transferred or terminated for any reason, the
16   franchisee is subject to a one year post termination non-competition covenant.
17         119. Franchisees do not own the store premises, they do not own required
18   equipment, they are dependent upon Defendant for financing, they do not have the
19   accounting and marketing infrastructure necessary to operate, and, by dress and by
20   name, they are required to hold out as a 7-Eleven convenience store. In so far as the
21   average store customer knows, there is no difference between 7-Eleven corporate
22   stores and franchise stores. Given these circumstances, franchisee rights to sell good
23   will, if any, is limited, and generally only allowed to increase franchisee dependence
24   upon Defendant.
25         120. The 24-hour, 364-day nature of the store also limits the number of
26   potential franchise buyers. Those limitations, plus in-term and post-term non-
27   competition covenants and limits upon use of confidential information leave
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1    franchisees with little option other than to remain as Defendant’s franchisee on
2    whatever terms, become somebody else’s employee, or start over in a completely new
3    and different business.
4          121. Given these circumstances, there is no genuine question about whether
5    franchisees could stand alone as an independent business operation without
6    Defendant’s support; stated alternatively, franchisees are entirely economically
7    dependent upon Defendant for their viability. This reality ends any real, genuine
8    question about franchisee status as Defendant’s employee under federal law. While
9    controlling standards under the FLSA and California laws differ slightly, the factors
10   assessed overlap in numerous respects. There is no genuine question that franchisees
11   are the employees of Defendant under both the FLSA and California law. A
12   conclusion that Defendant’s franchisees are employees is even more compelling when
13   the remedial purposes of the protective, social legislative policy at issue in this case
14   are taken into account.
15         III.    COLLECTIVE ACTION AND CLASS ACTION ALLEGATIONS
16      A. FLSA Collective Action Allegations
17         122. Haitayan, Dhillon, Elkins and Purewal (the “FLSA Named Plaintiffs”)
18   allege this action is appropriately suited for an “opt in” collective action under the
19   FLSA, 29 U.S.C. § 216(b) (a “Collective Action”), as it relates to Count One for
20   violations of FLSA overtime laws against Defendant, because:
21                 A. The FLSA Named Plaintiffs propose to represent themselves and all
22         other similarly situated franchisees of Defendant in California—including those
23         individuals who are currently operating as of the date of filing of this
24         Complaint, or who come to operate after the date of the filing of this Complaint,
25         one or more of Defendant’s “7-Eleven” franchised retail convenience stores in
26         California under the terms of Defendant’s FA—for violations of the FLSA as
27         alleged herein (i.e., the “FLSA Collective Action Plaintiffs”). The potential
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1        group of such FLSA Collective Action Plaintiffs encompasses franchisees who
2        operate 7-Eleven retail convenience stores either as an individual franchisee or
3        in the name of an entity franchisee, to the extent any such franchisee has
4        personally worked hours that constitute overtime hours under the FLSA. This
5        potential group of such FLSA Collective Action Plaintiffs includes a significant
6        number of such individuals, because the FLSA Named Plaintiffs are informed
7        and believe, and thereon allege that within the three years before the filing of
8        this Complaint Defendant has employed approximately 1,000 franchisees in the
9        State of California, the vast majority of whom are eligible to comprise the
10       group of FLSA Collective Action Plaintiffs. The FLSA Named Plaintiffs further
11       allege that the FLSA Collective Action Plaintiffs were each subjected to the
12       same or similar unlawful practices and policies alleged herein. Each member of
13       this potential group of FLSA Collective Action Plaintiffs must affirmatively
14       consent to join in this action to pursue FLSA remedies alleged herein.
15             B. This FLSA Collective Action involves common questions of law
16       and/or fact which predominate over individual issues, because the action
17       focuses on Defendant’s common employment practices and policies in
18       California applied to the FLSA Collective Action Plaintiffs in violation of the
19       FLSA as alleged herein.
20             C. The claims of each of the FLSA Named Plaintiffs (and as yet other
21       unnamed representatives) are also typical of the claims of the FLSA Collective
22       Action Plaintiffs because Defendant subjected all of their franchisees to similar
23       and/or identical violations of the FLSA as alleged herein.
24             D. Each of the FLSA Named Plaintiffs (and as yet other unnamed
25       representatives) are able to fairly and adequately protect and advance the
26       interests of all members of the FLSA Collective Action in one action, because
27       the FLSA Named Plaintiffs are 7-Eleven franchisees in California who have
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1          been damaged in a manner similar to other FLSA Collective Action Plaintiffs,
2          and it is in their best interests to prosecute the claims alleged herein to obtain
3          full compensation due to the FLSA Collective Action Plaintiffs for all relief to
4          which they are entitled as a result of Defendant’s unlawful policies and
5          practices which violated the FLSA as alleged herein.
6       B. Class Action Allegations
7          1. California Overtime Class
8          123. Pursuant to L.R. 23-2.2, Haitayan, Dhillon, Elkins and Purewal (the
9    “California Overtime Class Action Named Plaintiffs”) allege this action is
10   appropriately suited for an “opt out” class action under F.R.Civ.P. 23(a)(1)-(4) &
11   (b)(3), as it relates to Counts Two, Five, and Six for violations of overtime laws under
12   the California Labor Code, the California Code of Regulations, and the California
13   Business & Professions Code (a “California Overtime Class Action”) against
14   Defendant, because:
15                A.    Pursuant to L.R. 23-2.2(a), and subject to discovery and potential
16         modifications and/or sub-classes until the time class certification is requested,
17         the California Overtime Class Action Named Plaintiffs propose to represent
18         themselves and all other similarly situated franchisees of Defendant in
19         California—including those individuals who are currently operating as of the
20         date of filing of this Complaint, or who come to operate after the date of the
21         filing of this Complaint, one or more of Defendant’s “7-Eleven” franchised
22         retail convenience stores in California under the terms of Defendant’s FA—for
23         violations of the California Labor Code, the California Code of Regulations,
24         and the California Business & Professions Code alleged herein for overtime
25         violations (i.e., the “California Overtime Class Action Plaintiffs”). This
26         potential group of such California Overtime Class Action Plaintiffs
27         encompasses franchisees who operate 7-Eleven retail convenience stores either
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1        as an individual franchisee or in the name of an entity franchisee, to the extent
2        any such franchisee has personally worked hours that constitute overtime hours
3        under California law. This potential group of California Overtime Class Action
4        Plaintiffs includes a significant number of such individuals, because the
5        California Overtime Class Action Named Plaintiffs are informed and believe,
6        and thereon allege that within the four years before the filing of this Complaint
7        Defendant has employed approximately 1,000 franchisees in the State of
8        California, the vast majority of whom are eligible to comprise the group of
9        California Overtime Class Action Plaintiffs. The California Overtime Class
10       Action Named Plaintiffs further allege that California Overtime Class Action
11       Plaintiffs are a numerous group of persons who were each subjected to the same
12       or similar unlawful practices and policies alleged herein. Because the California
13       Overtime Class Action class may consist of hundreds or more members, joinder
14       of all such persons to pursue the California Overtime Class Action claims
15       would be impracticable.
16             B.    There are questions of law and/or fact common to the California
17       Overtime Class Action Plaintiffs, including but not limited to the independent
18       contractor status of all 7-Eleven California franchisees and damages that may
19       be owed to them as a result of Defendant’s alleged misclassification, because
20       the action focuses on Defendant’s common employment practices and policies
21       in California applied to the California Overtime Class Action Plaintiffs in
22       violation of the California Labor Code, the California Code of Regulations, and
23       the California Business & Professions Code as alleged herein, i.e., Defendant’s
24       enforcement of common franchise agreement covenants and incorporated
25       policies and procedures applicable to all franchisees. Each claim depends upon
26       a common contention of such a nature that it is capable of class-wide resolution,
27       i.e. the requested class action has the capacity to generate common answers,
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1        which are apt to drive the resolution of the litigation.
2              C.     The claims of each of the California Overtime Class Action Named
3        Plaintiffs (and as yet other unnamed representatives) are also typical of the
4        claims of the California Overtime Class Action Plaintiffs because Defendant
5        classified the California Overtime Class Action Named Plaintiffs, and all other
6        California Overtime Class Action Plaintiffs, as independent contractors in
7        California, and subjected them to similar and/or identical violations of the
8        California Labor Code, the California Code of Regulations, and the California
9        Business & Professions Code as alleged herein. The claims of the California
10       Overtime Class Action Named Plaintiffs and all other California Overtime
11       Class Action Plaintiffs rise and fall on the same or similar facts, and present the
12       same or similar claims arising from the same course of conduct which gives rise
13       to the same or similar injuries and requests for relief.
14             D.     Each of the California Overtime Class Action Named Plaintiffs
15       (and as yet other unnamed representatives) are able to fairly and adequately
16       protect and advance the interests of all members of the California Overtime
17       Class Action in one action, because the California Overtime Class Action
18       Named Plaintiffs are 7-Eleven franchisees in California who have been treated
19       as independent contractors and thus damaged in a manner similar to other
20       California Overtime Class Action Plaintiffs, and it is in their best interests to
21       prosecute the claims alleged herein to obtain full compensation due to
22       California Overtime Class Action Plaintiffs for all California Overtime Class
23       Action relief they seek in this action. The California Overtime Class Action
24       Named Plaintiffs do not have conflicts of interest with the California Overtime
25       Class Action Plaintiffs, and all such class members will be represented by
26       qualified and competent class counsel.
27             E.     This California Overtime Class Action involves common questions
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1        of law and/or fact which predominate over issues affecting only individual
2        members, in part because Defendant has classified all 7-Eleven franchisees in
3        California as independent contractors and deprived all class members of the
4        benefits and protections of the California Labor Code, the California Code of
5        Regulations, and the California Business & Professions Code as alleged herein.
6        The issue apt to drive resolution of this litigation, i.e. the misclassification of
7        franchisees as independent contractors and not employees, turns upon the same
8        or virtually the same franchise agreement covenants and incorporated policies
9        and procedures Defendant has established.
10             F.     An opt out class action would be a superior means to adjudicate the
11       California Overtime Class Action Plaintiffs’ claims and Defendant’s defenses to
12       these alleged violations, including but not limited to the primary issue of the
13       California Overtime Class Action Plaintiffs’ classification as employees or
14       independent contractors of Defendant, which will not be difficult to manage
15       because no materially significant management issues are implicated by the
16       claims and defenses in this action. No other litigation has begun concerning
17       these controversies by or against California Overtime Class Action Plaintiffs. It
18       also would be desirable to concentrate this litigation in a Class Action in this
19       Court because the outcome of the case will have a significant impact on all 7-
20       Eleven franchisees in California.
21             G.     The   California    Overtime    Class   Action    Named       Plaintiffs
22       contemplate that notice of class certification to the California Overtime Class
23       Action Plaintiffs would be in accordance with F.R.Civ.P. 23(c)(2)(B), through a
24       direct written disclosure mailed to each class member advising of: the nature of
25       the case; the class definition; the class claims, issues and defenses; the right to
26       retain separate counsel or to request exclusion from the certified class within a
27       certain limited time period; and the binding effect of a class judgment.
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1          2. California Expense Class
2          124. Pursuant to L.R. 23-2.2, all six of the Named Plaintiffs allege this action
3    is appropriately suited for an “opt out” class action under F.R.Civ.P. 23(a)(1)-(4) &
4    (b)(3), as it relates to Counts Three through Six for violations of expense
5    reimbursement laws the California Labor Code, the California Code of Regulations,
6    and the California Business & Professions Code (a “California Expense Class
7    Action”) against Defendant, because:
8                A.     Pursuant to L.R. 23-2.2(a), and subject to discovery and potential
9          modifications and/or sub-classes until the time class certification is requested,
10         the Named Plaintiffs propose to represent themselves and all other similarly
11         situated franchisees of Defendant in California—including those individuals
12         who are currently operating as of the date of filing of this Complaint, or who
13         come to operate after the date of the filing of this Complaint, one or more of
14         Defendant’s “7-Eleven” franchised retail convenience stores in California under
15         the terms of Defendant’s FA—for violations of the California Labor Code, the
16         California Code of Regulations, and the California Business & Professions
17         Code alleged herein for expense reimbursement violations (i.e., the “California
18         Expense Class Action Plaintiffs”). This potential group of such California
19         Expense Class Action Plaintiffs encompasses franchisees who operate 7-Eleven
20         retail convenience stores either as an individual franchisee or in the name of an
21         entity franchisee, to the extent any such franchisee has personally incurred
22         expenses to operate a 7-Eleven store for which Defendant is responsible under
23         California law. This potential group of California Expense Class Action
24         Plaintiffs includes a significant number of such individuals, because the Named
25         Plaintiffs are informed and believe, and thereon allege that within the four years
26         before the filing of this Complaint Defendant has employed approximately
27         1,000 franchisees in the State of California, all of whom are eligible to comprise
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1        the group of California Expense Class Action Plaintiffs. The Named Plaintiffs
2        further allege that California Expense Class Action Plaintiffs are a numerous
3        group of persons who were each subjected to the same or similar unlawful
4        practices and policies alleged herein. Because the California Expense Class
5        Action class may consist of 1,000 or more members, joinder of all such persons
6        to pursue the California Expense Class Action claims would be impracticable.
7              B.     There are questions of law and/or fact common to the California
8        Expense Class Action Plaintiffs, including but not limited to the independent
9        contractor status of all 7-Eleven California franchisees and damages that may
10       be owed to them as a result of Defendant’s alleged misclassification, because
11       the action focuses on Defendant’s common employment practices and policies
12       in California applied to the California Expense Class Action Plaintiffs in
13       violation of the California Labor Code, the California Code of Regulations, and
14       the California Business & Professions Code as alleged herein, i.e., Defendant’s
15       enforcement of common franchise agreement covenants and incorporated
16       policies and procedures applicable to all franchisees. Each claim depends upon
17       a common contention of such a nature that it is capable of class-wide resolution,
18       i.e. the requested class action has the capacity to generate common answers,
19       which are apt to drive the resolution of the litigation.
20             C.     The claims of each of the Named Plaintiffs (and as yet other
21       unnamed representatives) are also typical of the claims of the California
22       Expense Class Action Plaintiffs because Defendant classified the Named
23       Plaintiffs, and all other California Expense Class Action Plaintiffs, as
24       independent contractors in California, and subjected them to similar and/or
25       identical violations of the California Labor Code, the California Code of
26       Regulations, and the California Business & Professions Code as alleged herein.
27       The claims of the Named Plaintiffs and all other California Expense Class
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1        Action Plaintiffs rise and fall on the same or similar facts, and present the same
2        or similar claims arising from the same course of conduct which gives rise to
3        the same or similar injuries and requests for relief.
4              D.     Each of the Named Plaintiffs (and as yet other unnamed
5        representatives) are able to fairly and adequately protect and advance the
6        interests of all members of the California Expense Class Action in one action,
7        because the Named Plaintiffs are 7-Eleven franchisees in California who have
8        been treated as independent contractors and thus damaged in a manner similar
9        to other California Expense Class Action Plaintiffs, and it is in their best
10       interests to prosecute the claims alleged herein to obtain full compensation due
11       to California Expense Class Action Plaintiffs for all California Expense Class
12       Action relief they seek in this action. The Named Plaintiffs do not have
13       conflicts of interest with the California Expense Class Action Plaintiffs, and all
14       such class members will be represented by qualified and competent class
15       counsel.
16             E.     This California Expense Class Action involves common questions
17       of law and/or fact which predominate over issues affecting only individual
18       members, in part because Defendant has classified all 7-Eleven franchisees in
19       California as independent contractors and deprived all class members of the
20       benefits and protections of the California Labor Code, the California Code of
21       Regulations, and the California Business & Professions Code as alleged herein.
22       The issue apt to drive resolution of this litigation, i.e. the misclassification of
23       franchisees as independent contractors and not employees, turns upon the same
24       or virtually the same franchise agreement covenants and incorporated policies
25       and procedures Defendant has established.
26             F.     An opt out class action would be a superior means to adjudicate the
27       California Expense Class Action Plaintiffs’ claims and Defendant’s defenses to
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1          these alleged violations, including but not limited to the primary issue of the
2          California Expense Class Action Plaintiffs’ classification as employees or
3          independent contractors of Defendant, which will not be difficult to manage
4          because no materially significant management issues are implicated by the
5          claims and defenses in this action. No other litigation has begun concerning
6          these controversies by or against California Expense Class Action Plaintiffs. It
7          also would be desirable to concentrate this litigation in a Class Action in this
8          Court because the outcome of the case will have a significant impact on all 7-
9          Eleven franchisees in California.
10               G.     The Named Plaintiffs contemplate that notice of class certification
11         to the California Expense Class Action Plaintiffs would be in accordance with
12         F.R.Civ.P. 23(c)(2)(B), through a direct written disclosure mailed to each class
13         member advising of: the nature of the case; the class definition; the class
14         claims, issues and defenses; the right to retain separate counsel or to request
15         exclusion from the certified class within a certain limited time period; and the
16         binding effect of a class judgment.
17                                        IV.    CLAIMS
18                                      COUNT ONE:
19                  FAILURE TO PAY OVERTIME COMPENSATION
20       IN VIOLATION OF THE FEDERAL FAIR LABOR STANDARDS ACT
21         125. This Count One is pled by the FLSA Named Plaintiffs and all FLSA
22   Collective Action Plaintiffs, against Defendant.
23         126. At all times relevant to this Complaint, and within three (3) years before
24   the commencement of this action, Defendant was and continues to be an employer of
25   the FLSA Named Plaintiffs and FLSA Collective Action Plaintiffs within the meaning
26   of the FLSA. As a result, the FLSA Named Plaintiffs and all FLSA Collective Action
27   Plaintiffs’ employment for Defendant is covered and governed by the FLSA, 29
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1    U.S.C. sections 201, et seq., inclusive of Section 207, which regulate the payment of
2    overtime wages for hours worked in excess of forty hours per week. The FLSA
3    requires each covered employer, such as Defendant, to compensate all non-exempt
4    employees at a rate of not less than one and one-half times the regular rate of pay for
5    work performed in excess of forty hours in a workweek.
6          127. At all times relevant to this Complaint, since three (3) years prior to the
7    commencement of this action, Defendant employed and continues to employ the
8    FLSA Named Plaintiffs and FLSA Collective Action Plaintiffs in the State of
9    California to operate retail convenience stores owned by Defendant, pursuant to the
10   FLSA. Because the FLSA Named Plaintiffs and FLSA Collective Action Plaintiffs
11   were/are employees of Defendant, Defendant was obligated to comply with the
12   FLSAs overtime pay rules pursuant to 29 U.S.C. section 207.
13         128. At all times relevant to this Complaint, since three (3) years prior to the
14   commencement of this action, the FLSA Named Plaintiffs and the FLSA Collective
15   Action Plaintiffs have worked hours for which overtime wages have been owed. As
16   such, the FLSA Named Plaintiffs and the FLSA Collective Action Plaintiffs are
17   entitled to be paid overtime compensation for all overtime hours worked. At all times
18   relevant to this Complaint, Defendant had a uniform practice and policy of failing and
19   refusing to pay overtime to the FLSA Named Plaintiffs and the FLSA Collective
20   Action Plaintiffs for their overtime hours worked. As a result of the unlawful acts of
21   Defendant in its failure to compensate the FLSA Named Plaintiffs and the FLSA
22   Collective Action Plaintiffs for overtime hours worked, Defendant has violated and
23   continues to violate the FLSA, 29 U.S.C. section 201 et seq., including 29 U.S.C.
24   sections 207(a)(1) and 215(a).
25         129. Defendant’s failure to pay the FLSA Named Plaintiffs and the FLSA
26   Collective Action Plaintiffs in conformity with the FLSA overtime pay rates was
27   willful within the meaning of 29 U.S.C. § 255(a). By failing to compensate the FLSA
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               PLAINTIFFS’ COMPLAINT FOR DAMAGES, RESTITUTION,
                              AND OTHER RELIEF
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1    Named Plaintiffs and the FLSA Collective Action Plaintiffs for overtime hours,
2    Defendant has violated, and continues to violate statutory rights under the FLSA. The
3    FLSA Named Plaintiffs and the FLSA Collective Action Plaintiffs seek and are
4    entitled to recover a monetary judgment in the amount of unpaid wages as provided
5    under the FLSA, 29 U.S.C. section 216(b).
6           130. The FLSA Named Plaintiffs and the FLSA Collective Action Plaintiffs
7    also seek and are entitled to recover a monetary judgment for liquidated damages in an
8    amount equal to overtime pay owed, as provided under the FLSA, 29 U.S.C. section
9    216(b).
10          131. The FLSA Named Plaintiffs and the FLSA Collective Action Plaintiffs
11   also seek and are entitled to recover reasonable attorney’s fees and costs, and such
12   other legal and equitable relief, including interest, as provided by the FLSA, 29 U.S.C.
13   section 216(b), or as otherwise allowed by law.
14          132. Each of the FLSA Named Plaintiffs consents to sue in this action pursuant
15   to the FLSA and files concurrently herewith, Consent to Join forms, pursuant to the
16   FLSA, 29 U.S.C. sections 216(b) and 256. It is likely that other of the FLSA
17   Collective Action Plaintiffs will sign consent forms and join as plaintiffs on this claim
18   in the future.
19                                      COUNT TWO:
20                    FAILURE TO PAY OVERTIME COMPENSATION
21                        IN VIOLATION OF CALIFORNIA LAW
22          133. This Count Two is pled by the California Overtime Class Action Named
23   Plaintiffs and all California Overtime Class Action Plaintiffs, against Defendant.
24          134. At all times relevant to this Complaint, and within three (3) years before
25   the commencement of this action, Defendant was and continues to be an employer of
26   the California Overtime Class Action Named Plaintiffs and all California Overtime
27   Class Action Plaintiffs within the meaning of California law, California Labor Code
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                PLAINTIFFS’ COMPLAINT FOR DAMAGES, RESTITUTION,
                               AND OTHER RELIEF
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1    sections 18 and 1194, and California Code of Regulations, title 8, section 11070. As a
2    result, the California Overtime Class Action Named Plaintiffs and all California
3    Overtime Class Action Plaintiffs’ employment for Defendant is covered and governed
4    by the California Labor Code section 1194, and California Code of Regulations, title
5    8, section 11070, subsection 3, which regulate the payment of overtime wages for
6    hours worked in excess of eight hours per day and forty hours per week. California
7    Labor Code section 1194, and California Code of Regulations, title 8, section 11070,
8    subsection 3 require each covered employer, such as Defendant, to compensate all
9    non-exempt employees at a rate of not less than one and one-half times the regular
10   rate of pay for work performed: in excess of eight hours in a workday, and forty hours
11   in a workweek, and the first eight hours on the seventh day of a workweek; and
12   double-time for all hours worked in excess of twelve hours in a workday, and after the
13   first eight hours on the seventh day of a workweek.
14         135. At all times relevant to this Complaint, since three (3) years prior to the
15   commencement of this action, Defendant employed and continues to employ the
16   California Overtime Class Action Named Plaintiffs and all California Overtime Class
17   Action Plaintiffs in the State of California to operate retail convenience stores owned
18   by Defendant, pursuant to the California Labor Code and California Code of
19   Regulations. Because the California Overtime Class Action Named Plaintiffs and all
20   California Overtime Class Action Plaintiffs were/are employees of Defendant,
21   Defendant was obligated to comply with California’s overtime pay rules pursuant to
22   California Labor Code section 1194, and California Code of Regulations, title 8,
23   section 11070, subsection 3.
24         136. At all times relevant to this Complaint, since three (3) years prior to the
25   commencement of this action, the California Overtime Class Action Named Plaintiffs
26   and all California Overtime Class Action Plaintiffs have worked hours for which
27   overtime wages have been owed. As such, the California Overtime Class Action
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               PLAINTIFFS’ COMPLAINT FOR DAMAGES, RESTITUTION,
                              AND OTHER RELIEF
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1    Named Plaintiffs and all California Overtime Class Action Plaintiffs are entitled to be
2    paid overtime compensation for all overtime hours worked. At all times relevant to
3    this Complaint, Defendant had a uniform practice and policy of failing and refusing to
4    pay overtime to the California Overtime Class Action Named Plaintiffs and all
5    California Overtime Class Action Plaintiffs for their overtime hours worked. As a
6    result of the unlawful acts of Defendant in its failure to compensate the California
7    Overtime Class Action Named Plaintiffs and all California Overtime Class Action
8    Plaintiffs for overtime hours worked, Defendant has violated and continues to violate
9    California law, including Labor Code section 1194, and California Code of
10   Regulations, title 8, section 11070, subsection 3.
11         137. Defendant’s failure to pay the California Overtime Class Action Named
12   Plaintiffs and all California Overtime Class Action Plaintiffs in conformity with
13   California overtime pay rates was willful. By failing to compensate the California
14   Overtime Class Action Named Plaintiffs and all California Overtime Class Action
15   Plaintiffs for overtime hours, Defendant has violated, and continues to violate
16   statutory and regulatory rights under California law. The California Overtime Class
17   Action Named Plaintiffs and all California Overtime Class Action Plaintiffs seek and
18   are entitled to recover a monetary judgment in the amount of unpaid wages as
19   provided under California Labor Code section 1194.
20         138. The California Overtime Class Action Named Plaintiffs and all California
21   Overtime Class Action Plaintiffs also seek and are entitled to recover reasonable
22   attorney’s fees and costs, and such other legal and equitable relief, including interest,
23   as provided by California Labor Code section 1194.
24                                     COUNT THREE:
25             FAILURE TO INDEMNIFY FOR EXPENSES AND LOSSES
26                        IN VIOLATION OF CALIFORNIA LAW
27         139. This Count Three is pled by the Named Plaintiffs and all California
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               PLAINTIFFS’ COMPLAINT FOR DAMAGES, RESTITUTION,
                              AND OTHER RELIEF
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1    Expense Class Action Plaintiffs, against Defendant.
2          140. At all times relevant to this Complaint, and within three (3) years before
3    the commencement of this action, Defendant was and continues to be an employer of
4    the Named Plaintiffs and all California Expense Class Action Plaintiffs within the
5    meaning of California law, California Labor Code sections 18 and 2802, and
6    California Code of Regulations, title 8, section 11070. As a result, the Named
7    Plaintiffs and all California Expense Class Action Plaintiffs’ employment for
8    Defendant is covered and governed by California Labor Code section 2802, which
9    requires an employer to indemnify its employees for all necessary expenditures or
10   losses incurred by an employee in direct consequence of the discharge his or her
11   duties, or obedience to the directions of the employer.
12         141. At all times relevant to this Complaint, since three (3) years prior to the
13   commencement of this action, Defendant employed and continues to employ the
14   Named Plaintiffs and all California Expense Class Action Plaintiffs in the State of
15   California to operate retail convenience stores owned by Defendant, pursuant to the
16   California Labor Code and California Code of Regulations. Because the Named
17   Plaintiffs and all California Expense Class Action Plaintiffs were/are employees of
18   Defendant, Defendant was obligated to comply with California’s business expense
19   laws pursuant to California Labor Code section 2802.
20         142. At all times relevant to this Complaint, since three (3) years prior to the
21   commencement of this action, the Named Plaintiffs and all California Expense Class
22   Action Plaintiffs have incurred necessary expenditures and losses, all in direct
23   consequence of the discharge of their duties to Defendant and in obedience to the
24   directions of Defendant in operating Defendant’s 7-Eleven stores. Such expenses have
25   included, but are not necessarily limited to: paying the expenses associated with other
26   employees in the stores; paying for cleaning and maintenance of Defendant’s premises
27   and of Defendant’s equipment; and paying for expenses associated with store
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               PLAINTIFFS’ COMPLAINT FOR DAMAGES, RESTITUTION,
                              AND OTHER RELIEF
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1    operational supplies (with the exception of any expenses related to store security
2    camera/DVR systems, which are expressly not sought in this action). At all times
3    relevant to this Complaint, Defendant had a uniform practice and policy of failing and
4    refusing to pay for, and to reimburse the Named Plaintiffs and all California Expense
5    Class Action Plaintiffs for these necessary expenditures and losses. As a result of the
6    unlawful acts of Defendant in its failure to indemnify the Named Plaintiffs and all
7    California Expense Class Action Plaintiffs for necessary expenditures and losses,
8    Defendant has violated and continues to violate California law, including Labor Code
9    section 2802.
10         143. Defendant’s failure and refusal to pay for, and to reimburse the Named
11   Plaintiffs and all California Expense Class Action Plaintiffs for these necessary
12   expenditures and losses in conformity with California law was willful. By failing to
13   compensate the Named Plaintiffs and all California Expense Class Action Plaintiffs
14   for necessary expenditures and losses, Defendant has violated, and continues to
15   violate statutory rights under California law. The Named Plaintiffs and all California
16   Expense Class Action Plaintiffs seek and are entitled to recover a monetary judgment
17   in the amount of necessary expenditures and losses as provided under California
18   Labor Code section 2802.
19         144. The Named Plaintiffs and all California Expense Class Action Plaintiffs
20   also seek and are entitled to recover reasonable attorney’s fees and costs, and such
21   other legal and equitable relief, including interest, as provided by California Labor
22   Code section 2802.
23                                     COUNT FOUR:
24    FAILURE TO PROVIDE AND MAINTAIN UNIFORMS AND EQUIPMENT
25                        IN VIOLATION OF CALIFORNIA LAW
26         145. This Count Four is pled by the Named Plaintiffs and all California
27   Expense Class Action Plaintiffs, against Defendant.
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               PLAINTIFFS’ COMPLAINT FOR DAMAGES, RESTITUTION,
                              AND OTHER RELIEF
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1          146. At all times relevant to this Complaint, and within three (3) years before
2    the commencement of this action, Defendant was and continues to be an employer of
3    the Named Plaintiffs and all California Expense Class Action Plaintiffs within the
4    meaning of California law, California Labor Code section 18, and California Code of
5    Regulations, title 8, section 11070. As a result, the Named Plaintiffs and all California
6    Expense Class Action Plaintiffs’ employment for Defendant is covered and governed
7    by California Code of Regulations, title 8, section 11070, subsection 9, which requires
8    that an employer provide and maintain uniforms, tools and equipment required by the
9    employer.
10         147. At all times relevant to this Complaint, since three (3) years prior to the
11   commencement of this action, Defendant employed and continues to employ the
12   Named Plaintiffs and all California Expense Class Action Plaintiffs in the State of
13   California to operate retail convenience stores owned by Defendant, pursuant to the
14   California Labor Code and California Code of Regulations. Because the Named
15   Plaintiffs and all California Expense Class Action Plaintiffs were/are employees of
16   Defendant, Defendant was obligated to comply with California’s business expense
17   laws pursuant to California Code of Regulations, title 8, section 11070, subsection 9.
18         148. At all times relevant to this Complaint, since three (3) years prior to the
19   commencement of this action, the Named Plaintiffs and all California Expense Class
20   Action Plaintiffs have incurred expenses required by their work for Defendant in
21   operating Defendant’s 7-Eleven stores. Such expenses have included, but are not
22   necessarily limited to: purchasing, and paying for maintenance of uniforms; paying for
23   maintenance of Defendant’s equipment; and paying for other tools and equipment
24   expenses associated with store operational supplies (with the exception of any
25   expenses related to store security camera/DVR systems, which are expressly not
26   sought in this action). At all times relevant to this Complaint, Defendant had a
27   uniform practice and policy of failing and refusing to pay for, and to reimburse the
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                                AND OTHER RELIEF
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1    Named Plaintiffs and all California Expense Class Action Plaintiffs for these
2    categories of expenses. As a result of the unlawful acts of Defendant in its failure to
3    indemnify the Named Plaintiffs and all California Expense Class Action Plaintiffs for
4    necessary expenditures and losses, Defendant has violated and continues to violate
5    California law, including California Code of Regulations, title 8, section 11070,
6    subsection 9.
7          149. Defendant’s failure and refusal to pay for, and to reimburse the Named
8    Plaintiffs and all California Expense Class Action Plaintiffs for these necessary
9    expenses in conformity with California law was willful. By failing to compensate the
10   Named Plaintiffs and all California Expense Class Action Plaintiffs for necessary
11   expenses, Defendant has violated, and continues to violate statutory rights under
12   California law. The Named Plaintiffs and all California Expense Class Action
13   Plaintiffs seek and are entitled to recover a monetary judgment in the amount of
14   necessary expenses as provided under California Code of Regulations, title 8, section
15   11070, subsection 9.
16                                       COUNT FIVE:
17                   UNFAIR BUSINESS PRACTICES IN VIOLATION OF
18             THE CALIFORNIA BUSINESS AND PROFESSIONS CODE
19         150. This Count Five is pled by the Named Plaintiffs and all Plaintiffs, against
20   Defendant.
21         151. Defendant engages in business practices, offers goods and services for
22   sale, and advertises goods and services for sale within the State of California. As such,
23   Defendant has a duty to comply with the provisions of the Unfair Business Practices
24   Act as set forth in California Business & Professions Code Sections 17200, et seq.,
25   which Act prohibits, inter alia, unlawful, unfair, and/or fraudulent business acts or
26   practices and unfair, deceptive, untrue, or misleading advertising by any person, firm,
27   corporation, or association within the jurisdiction of the State of California.
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               PLAINTIFFS’ COMPLAINT FOR DAMAGES, RESTITUTION,
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1           152. By violating the FLSA and California law as alleged above, and by
2    failing to take immediate and appropriate measures to address these violations,
3    Defendant’s acts constitute unfair business practices under California Business and
4    Professions Code sections 17200, et seq. Defendant’s foregoing violations of the
5    FLSA and California law, and by extension, California Business and Professions Code
6    sections 17200, et seq., constitute an unfair business practice because the acts have
7    been done repeatedly over a significant period of time throughout the State of
8    California, and in a systematic manner to the detriment of the Named Plaintiffs and all
9    Plaintiffs.
10          153. As a direct, foreseeable, and proximate result of Defendant’s acts and
11   omissions alleged herein, for the four years preceding the filing of this action, the
12   Named Plaintiffs and all Plaintiffs have suffered damages, and Defendant has also
13   been unjustly enriched as a result of unfair business practices. Named Plaintiffs and all
14   Plaintiffs therefore request restitution of all lost wages and expenses from Defendant
15   in an amount according to proof at time of trial.
16          154. Defendant has applied, is applying, and will apply the foregoing unfair
17   business policies and practices to certain of its employees who are still employed, and
18   to certain individuals who will in the future become employed by Defendant. Such
19   employees have been injured and damaged, and are threatened with further injury and
20   damage by Defendant’s actions as alleged, and are thus threatened with immediate
21   irreparable harm by the continuation of Defendant’s actions as heretofore alleged, and
22   have no complete adequate remedy at law. Therefore, the Named Plaintiffs and all
23   Plaintiffs request the Court enter an order reflecting appropriate injunctive relief to
24   prevent Defendant from committing such acts in the future.
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                   PLAINTIFFS’ COMPLAINT FOR DAMAGES, RESTITUTION,
                                  AND OTHER RELIEF
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1                                         COUNT SIX:
2                  UNLAWFUL BUSINESS PRACTICES IN VIOLATION OF
3                  THE CALIFORNIA BUSINESS AND PROFESSIONS CODE
4           155. This Count Six is pled by the Named Plaintiffs and all Plaintiffs, against
5    Defendant.
6           156. Defendant engages in business practices, offers goods and services for
7    sale, and advertises goods and services for sale within the State of California. As such,
8    Defendant has a duty to comply with the provisions of the Unfair Business Practices
9    Act as set forth in California Business & Professions Code Sections 17200, et seq.,
10   which Act prohibits, inter alia, unlawful, unfair, and/or fraudulent business acts or
11   practices and unfair, deceptive, untrue, or misleading advertising by any person, firm,
12   corporation, or association within the jurisdiction of the State of California.
13          157. By violating the FLSA and California law as alleged above, and by
14   failing to take immediate and appropriate measures to address these violations,
15   Defendant’s acts constitute unlawful business practices under California Business and
16   Professions Code sections 17200, et seq. Defendant’s foregoing violations of the
17   FLSA and California law, and by extension, California Business and Professions Code
18   sections 17200, et seq., constitute an unlawful business practice because the acts have
19   been done repeatedly over a significant period of time throughout the State of
20   California, and in a systematic manner to the detriment of the Named Plaintiffs and all
21   Plaintiffs.
22          158. As a direct, foreseeable, and proximate result of Defendant’s acts and
23   omissions alleged herein, for the four years preceding the filing of this action, the
24   Named Plaintiffs and all Plaintiffs have suffered damages, and Defendant has also
25   been unjustly enriched as a result of unlawful business practices. Named Plaintiffs and
26   all Plaintiffs therefore request restitution of all lost wages and expenses from
27   Defendant in an amount according to proof at time of trial.
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                   PLAINTIFFS’ COMPLAINT FOR DAMAGES, RESTITUTION,
                                  AND OTHER RELIEF
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1          159. Defendant has applied, is applying, and will apply the foregoing unlawful
2    business policies and practices to certain of its employees who are still employed, and
3    to certain individuals who will in the future become employed by Defendant. Such
4    employees have been injured and damaged, and are threatened with further injury and
5    damage by Defendant’s actions as alleged, and are thus threatened with immediate
6    irreparable harm by the continuation of Defendant’s actions as heretofore alleged, and
7    have no complete adequate remedy at law. Therefore, the Named Plaintiffs and all
8    Plaintiffs request the Court enter an order reflecting appropriate injunctive relief to
9    prevent Defendant from committing such acts in the future.
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               PLAINTIFFS’ COMPLAINT FOR DAMAGES, RESTITUTION,
                              AND OTHER RELIEF
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1                                  V.     PRAYER FOR RELIEF
2          Plaintiffs SERGE HAITAYAN, JASPREET DHILLON, ROBERT ELKINS,
3    MANJIT PUREWAL, and MANINDER “PAUL” LOBANA, individually, and on
4    behalf of others similarly situated, pray for judgment as follows:
5          1.      For nominal damages;
6          2.      For actual damages;
7          3.      For compensatory damages;
8          4.      For restitution of all wages and expenses due to all Plaintiffs;
9          5.      For interest accrued to date;
10         6.      For costs of suit and expenses incurred;
11         7.      For liquidated damages pursuant to 29 U.S.C. section 216(b);
12         8.      For reasonable attorneys’ fees pursuant to 29 U.S.C. section 216(b),
13                 California Labor Code sections 1194 and 2802, and California Code of
14                 Civil Procedure section 1021.5;
15         9.      For appropriate injunctive relief;
16         10.     For appropriate equitable relief;
17         11.     For all such other and further relief that the Court may deem just and
18                 proper.
19   Respectfully submitted,
     Dated: October 12, 2017                 CULP & DYER, LLP
20
                                             RUPAL LAW
21
                                     POPE, BERGER,
22
                                     WILLIAMS & REYNOLDS, LLP
23                                   By: /s/ Timothy G. Williams
                                     Timothy G. Williams
24
                                     Stephanie Reynolds
25                                   Attorneys for Plaintiffs SERGE HAITAYAN,
                                     JASPREET DHILLON, ROBERT ELKINS,
26
                                     MANJIT PUREWAL, and MANINDER
27                                   “PAUL” LOBANA, individually, and on
                                     behalf of others similarly situated
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                 PLAINTIFFS’ COMPLAINT FOR DAMAGES, RESTITUTION,
                                AND OTHER RELIEF
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1                              VI.    DEMAND FOR JURY TRIAL
2          Pursuant to Federal Rules Civil Procedure, rule 38(b), and L.R. 38-1, Plaintiffs
3    SERGE HAITAYAN, JASPREET DHILLON, ROBERT ELKINS, MANJIT
4    PUREWAL, and MANINDER “PAUL” LOBANA, individually, and on behalf of
5    others similarly situated, demand a jury trial.
6    Respectfully submitted,
     Dated: October 12, 2017                 CULP & DYER, LLP
7
                                             RUPAL LAW
8
                                             POPE, BERGER,
9
                                             WILLIAMS & REYNOLDS, LLP
10                                           By: /s/ Timothy G. Williams
                                             Timothy G. Williams
11
                                             Stephanie Reynolds
12                                           Attorneys for Plaintiffs SERGE HAITAYAN,
                                             JASPREET DHILLON, ROBERT ELKINS,
13
                                             MANJIT PUREWAL, and MANINDER
14                                           “PAUL” LOBANA, individually, and on
                                             behalf of others similarly situated
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               PLAINTIFFS’ COMPLAINT FOR DAMAGES, RESTITUTION,
                              AND OTHER RELIEF
